Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 1 of 9 PageID# 762



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

JOSEPH R. PERRY, JR.,                          )
                                               )
                        Plaintiff,             )
                                               )
         v.                                    )       Civil Action No. 1:17-cv-546 (AJT/JFA)
                                               )
COMMONWEALTH OF VIRGINIA,                      )
et al.,                                        )
                                               )
                        Defendants.            )
                                               )

                                              ORDER

         Plaintiff Joseph R. Perry, Jr. claims that the Defendants unconstitutionally and

unlawfully, in violation of state law, deprived him of his driver’s license, wrongfully prosecuted

him for driving without a license, and attempted to cover it up over the course of twenty-six

years.

         The Defendants are (1) the Commonwealth of Virginia; Richard B. Potter, in his

individual capacity and also in his official capacity as a Virginia Circuit Court judge (“Judge

Potter”); the Circuit Court of Prince William County; and the Virginia Department of Motor

Vehicles (“DMV”) (collectively “the Commonwealth Defendants”); (2) Paul B. Ebert, in his

individual capacity and also in his official capacity as Commonwealth’s Attorney for Prince

William County; the Prince William County Commonwealth Attorney’s Office; Louis J. Rusk, in

her individual capacity and also in her official capacity as Deputy Clerk for Prince William

County Circuit Court; Charlton E. Gnadt, in his individual capacity and also in his official

capacity as Clerk of Court for Prince William County; and unnamed Prince William County

Circuit Court Clerks from June 8, 1990, to May 7, 2015 (collectively “the Prince William County



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Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 2 of 9 PageID# 763



defendants”). 1 Presently pending are (1)the Prince William County Defendants’ Motion to

Dismiss for Insufficient Service of Process [Doc. No. 24]; the Commonwealth Defendants’

Motion to Dismiss [Doc. No. 27] and Defendants Ebert and the Commonwealth Attorney’s

Office’s Motion to Dismiss the Amended Complaint [Doc. No. 63] (collectively, the “Motions to

Dismiss”); and (2) Plaintiff’s Motion for Partial Summary Judgment [Doc. No. 62] and

Plaintiff’s Subsequent Motion for Partial Summary Judgment [Doc. No. 76] (collectively

referred to as “Plaintiffs’ Motion for Summary Judgment”). For the reasons set forth below, the

Motions to Dismiss are all GRANTED based on the applicable statute of limitations and also

either sovereign immunity, judicial immunity or prosecutorial immunity and are otherwise

DENIED, Plaintiff’s Motion for Partial Summary Judgment is DENIED, and the case is

DISMISSED.

                                              I. BACKGROUND

A.       The Habitual Offender Order

         Construing his allegations liberally and collectively, Perry alleges the following: 2

         On April 2, 1990, on Defendant Ebert’s motion, the Prince William County Circuit Court

issued a Rule to Show Cause ordering Plaintiff to appear on May 25, 1990 to show cause why he

should not have his license revoked as a habitual offender under Virginia traffic laws. Because

the Prince William County courthouse was closed on May 25, 1990 for a regional judicial


1
  The City of Manassas, Virginia was originally joined as a Defendant, but was dismissed pursuant to the parties’
joint motion. [Doc. No. 61].
2
  Perry has filed four complaints in this action. Although the Second Amended Complaint is the currently operative
complaint against which the Motions to Dismiss are to be resolved, the Court has considered the allegations in all of
Perry’s first three filed complaints for the purposes of the defendants’ motions. On October 10, 2017, following the
filing of defendants’ motions directed to the Second Amended Complaint (his third complaint), Perry filed, without
the required leave of court or the Defendants’ written consent, a Third Amended Complaint (his fourth complaint)
[Doc. No. 70]. See Fed. R. Civ. P. 15(a)(1)(A) and (2) (allowing a plaintiff to amend his pleading once as a matter of
course within 21 days after service). By separate Order, the Court has ordered stricken that Third Amended
Complaint, without leave to file a motion to further amend his Second Amended Complaint, given the futility of any
amendments, given the allegations of the Third Amend Complaint.

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Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 3 of 9 PageID# 764



conference, “[t]he Rule to Show Cause was fatally defective the moment it was issued,” Second

Amended Complaint (“SAC”) [Doc. No. 5] ¶ 47; and the hearing was ostensibly continued to

June 8, 1990 in light of the conflict. First Amended Complaint (“FAC”), Exhibits [Doc. No. 2-2]

at 2.3 By Order dated June 12, 1990 bearing the purported signature of Judge Frank Hoss of the

Circuit Court for Prince William County, Perry was declared a habitual offender and ordered to

surrender his driver’s license for ten years. SAC ¶ 54; see FAC Exhibits, at 4-5 (the “Habitual

Offender Order”). However, Perry received no notice of the habitual offender hearing and no

habitual offender hearing occurred. SAC ¶ 5. In fact, Perry alleges that in order to create the

appearance that the hearing actually took place, Defendant Rusk used a rubber stamp with Judge

Hoss’ signature to falsify the letter continuing the habitual offender hearing as well as the order

declaring him an habitual offender. SAC ¶¶ 4. 7

B.      The 1993 Arlington Prosecution

        In 1993, Perry was arrested for driving as a habitual offender in Arlington County,

Virginia (the “Arlington violation”). SAC ¶ 62. Perry filed at least two motions to vacate the

Habitual Offender Order, which were heard by Judge Potter in 1996 and 1997. SAC ¶ 66. Judge

Potter denied each of these motions as being untimely, SAC ¶ 65

C.      The 2001 Arlington Prosecution

        In 2001, Perry was again arrested in Arlington County for driving while being a habitual

offender. SAC ¶ 71. At the trial in Arlington, Perry informed the court that he received no

service of process with respect to the habitual offender hearing and argued that the Habitual

Offender Order was a rubber-stamped fraud. The case was ultimately dismissed nolle prosequi.

SAC ¶ 75.

3
 Perry attached several exhibits to the Original Complaint [Doc. No. 1] and the First Amended Complaint [Doc. No.
2], but not his Second Amended Complaint (“SAC”) [Doc No. 5]. Nevertheless, the Court has considered these
exhibits in ruling on defendants’ motions.

                                                       3
Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 4 of 9 PageID# 765



D.     The 2006 Prince William County Prosecution

       In 2006, Perry was again arrested for driving as a habitual offender in Prince William

County. SAC ¶ 81. The case was assigned to Judge Potter and Perry ultimately served a sentence

of ten days imprisonment on weekends. SAC ¶ 40.

E.     The 2015 Final Order

       In 2015, Perry again filed a Motion to Vacate the Habitual Offender Order in the Prince

William County Circuit Court. Submitted in support of that motion is what appears to be an

affidavit by Judge Hoss, whose purported signature appears on the Order, affirming that the

signature on the Habitual Offender Order (entered on June 12, 1990) appears to be a rubber

stamp; that all his circuit court orders were signed, not stamped; and that he had no specific

recollection of signing the Habitual Offender Order. FAC Exhibits at 6. On May 7, 2015, Judge

Johnston of the Prince William County Circuit Court essentially vacated the 1990 Habitual

Offender Order. SAC ¶ 2; FAC Exhibits at 7. Judge Johnston’s order found that

“[n]otwithstanding the appearance in the Court’s file of an order apparently signed by a judge, no

such order has been in fact been [sic] entered . . .” and that “the Petitioner [Perry] is not a

habitual offender under the [Habitual Offender Order].” Id.

                                          III. ANALYSIS

       Perry’s claims in this case all stem from the allegedly falsified 1990 Habitual Offender

Order and his subsequent arrests and judicial proceedings based on that Order. More specifically,

Perry asserts four counts in the SAC, each of which attempts to assert a number of causes of

action. Summarized, those Counts allege: (1) fraud within the Prince William County

Courthouse , based on the original 1990 Habitual Offender Order (Count I); (2) fraud during the

1993 Arlington County prosecution of the Plaintiff, based on his 1993 arrest and prosecution in



                                                   4
Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 5 of 9 PageID# 766



Arlington for driving as a habitual offender (Count II); (3) fraud during the second Arlington

County prosecution of the Plaintiff, based on his 2001 arrest and prosecution in Arlington for

driving as a habitual offender, which was ultimately dismissed nolle prosequi ( Count III): and

(4) fraud during the Prince William County prosecution of the Plaintiff, based on his 2006 arrest

and prosecution in Prince William County for driving as a habitual offender (Count IV).

A.     All of Plaintiff’s claims are barred by the applicable statute of limitations.

       All of Plaintiff’s claims, in their various articulations and characterizations, are

essentially that he was denied due process in the above described judicial proceedings because of

the falsified Habitual Offender Order; and the only causes of action over which the Court would

have subject matter jurisdiction and which are plausibly plead are those arising under 42 U.S.C.

§ 1983, which is referenced in each Count.

       Section 1983 does not have an express statute of limitations; and in Virginia, the statute

of limitations applicable to a Section 1983 claim is two years, the state’s limitations period for

personal injury claims under Va. Code § 8.01-243(A). See Wilson v. Garcia, 471 U.S. 261, 280

(1985). Nevertheless, while the statute of limitations is determined by state law, federal law

determines when Perry’s claims accrued and whether the limitations period has been tolled. A

Soc’y Without A Name v. Virginia, 655 F.3d 342, 348 (4th Cir. 2011) (“A civil rights claim

accrues when the plaintiff ‘knows or has reason to know of the injury which is the basis of the

action.’”) (quoting Cox v. Stanton, 529 F.2d 46, 50 (4th Cir. 1975)).

       Based on his own allegations, Perry became aware of the alleged falsified Habitual

Offender Order, at the latest, in 1993. All of the other relied upon events occurred with his

knowledge in 2001, during the Arlington County prosecution, and in 2006, during the Prince

William County prosecution. Therefore, the limitations period for any of his claims against any



                                                  5
Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 6 of 9 PageID# 767



Defendant, named or unnamed, ran no later than 2008, with some claims barred much earlier.

Perry filed this action on May 5, 2017. [Doc. No. 1]. The plaintiff has also failed to allege any

facts that would toll the running of that limitations period to within two years of his filing this

action. 4 Accordingly, all four Counts must be dismissed as untimely.

B.       The Commonwealth Defendants are entitled to sovereign immunity.

         The Commonwealth Defendants (including Judge Potter in his official capacity, Ebert in

his official capacity, and the Commonwealth Attorney’s Office) are each protected from

Plaintiff’s claims under the doctrine of state sovereign immunity. Under the doctrine of

sovereign immunity, “an unconsenting state is immune from suits brought in federal courts . . . .”

Edelman v. Jordan, 415 U.S. 651, 663 (1974). The defense of sovereign immunity is not limited

to the state itself, but extends to the states agencies and officers sued in their official capacity.

Cash v. Granville Cnty. Bd. of Educ., 242 F.3d 219, 222 (4th Cir. 2001) (“Even though the

language of the Eleventh Amendment preserves sovereign immunity of only the States of the

Union, it is settled that this protection extends also to state agents and state instrumentalities.”)

(emphasis in original) (internal quotation marks and citations omitted). None has waived

immunity in this case.

         In determining whether an entity is an arm of the state for sovereign immunity purposes,

the Supreme Court of the United States has instructed that the “impetus for the Eleventh


4
  In support of his tolling claim, Perry asserts that “[i]t was absolutely necessary for the Plaintiff to have the June 8,
1990, fraud and forgery overturned prior to filing this instant action at law.” Pl.’s Opposition to Defendants’ Motion
to Dismiss [Doc. No. 37] 7. There is no authority for this contention and Perry cites none. Obtaining relief from the
Habitual Offender Order is not an element of his Section 1983 claims; and Perry learned of the facts and suffered the
injury that he relies upon to support his claims long before his Habitual Offender Order was vacated in 2015. Perry
implies that the Rooker-Feldman doctrine, which prevents a United States District Court from engaging in appellate
review of state court decisions, supports his contention. See Pl.’s Supplemental Brief and Argument [Doc. No. 75]
36. Here, however, Perry does not seek direct review of the Habitual Offender Order, but asserts causes of action for
allegedly unconstitutional actions that lead to the Habitual Offender Order and his subsequent prosecutions.
Additionally, the Rooker-Feldman doctrine is a rule of subject matter jurisdiction and does not serve as the basis for
any tolling of the applicable limitations period.

                                                            6
Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 7 of 9 PageID# 768



Amendment [is] the prevention of federal-court judgments that must be paid out of a State’s

treasury.” Hess v. Port-Auth. Trans-Hudson Corp., 513 U.S. 30, 48 (1994). Any judgment in this

case against the Commonwealth Defendants (including Judge Potter in his official capacity),

Ebert (in his official capacity), or the Commonwealth Attorney’s Office would in essence be a

judgment against the Commonwealth because it would burden the Commonwealth’s treasury.

Therefore, the umbrella of sovereign immunity extends over these Defendants.

C.     Judge Potter is entitled to absolute judicial immunity with respect to claims against
       him in both his official and individual capacities.

       Judge Potter is entitled to absolute judicial immunity in his individual and official

capacities. The Supreme Court has recognized the “‘immunity of judges from liability for

damages for acts committed within their judicial jurisdiction,’ even if such acts were allegedly

done either maliciously or corruptly.” King v. Myers, 973 F.2d 354, 356 (4th Cir. 1992) (quoting

Pierson v. Ray, 386 U.S. 547, 554 (1967)). A judge is entitled to absolute immunity so long as

the action in question (1) was not undertaken in “clear absence of all jurisdiction,” and (2) was in

fact a judicial act. Stump v. Sparkman, 435 U.S. 349, 360–62 (1978) (internal citations and

quotation marks omitted). In determining whether an act was undertaken in clear absence of all

jurisdiction, “the scope of the judge’s jurisdiction must be construed broadly.” Stump at 356.

Here, Plaintiff essentially alleges that Judge Potter was wrong to deny Plaintiff’s motions to

vacate the Habitual Offender Order and that his denials were “void ab initio.” SAC ¶ 65. But

nothing in Perry’s complaints plausibly alleges that Judge Potter lacked jurisdiction to hear and

decide Plaintiff’s motions to vacate. Judge Potter clearly had subject matter jurisdiction to

consider Plaintiff’s motions, see Va. Code § 17.1-513, and his decisions denying Plaintiff’s

motions are clearly “judicial acts.” Judge Potter is therefore entitled to judicial immunity.




                                                  7
Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 8 of 9 PageID# 769



E.      Defendant Ebert is entitled to prosecutorial immunity with respect to claims against
        him in both his official and individual capacities.

        Defendant Ebert is entitled to prosecutorial immunity, including in his individual

capacity. “[A]bsolute prosecutorial immunity is essential for activities ‘intimately associated

with the judicial phase of the criminal process . . . .’” Carter v. Burch, 34 F.3d 257, 261 (4th Cir.

1994) (quoting Imbler v. Patchman, 424 U.S. 409, 430 (1976)). While the exact scope of what

activities are “intimately associated with the judicial phase of the criminal process” can be

uncertain, where a prosecutor’s alleged wrongdoing in a civil case consists of “initiating a

prosecution and . . . presenting the State’s case, the prosecutor is immune from a civil suit for

damages . . . .” Imbler, 424 U.S. at 430. Here, the allegations against Ebert consist entirely of

core protected prosecutorial behavior. In Count I, Perry alleges that “Civil process was initiated

by defendant Ebert as evidenced by his signature on the Information filed in April 2, 1990.” SAC

¶ 46. Count I further alleges that “[a]ll defendants particularly Ebert, Gnadt and Rusk had the

responsibility to correct this error and did nothing,” SAC ¶ 48. Other than alleging that Ebert was

copied on the letter allegedly forged by Defendant Rusk, these allegations represent the entirety

of the alleged conduct by Ebert. Likewise, Counts II through IV contain no allegations against

Ebert. As the Supreme Court made clear in Imbler, such core prosecutorial conduct, viz., signing

a criminal information and prosecuting the State’s case, enjoy absolute prosecutorial immunity.

Therefore, the Second Amended Complaint fails to state a claim against Defendant Ebert in

either his official or individual capacities.

                                         IV. CONCLUSION

        For the foregoing reasons, it is hereby




                                                  8
Case 1:17-cv-00546-AJT-JFA Document 81 Filed 11/09/17 Page 9 of 9 PageID# 770



       ORDERED that the Motions to Dismiss [Doc. Nos. 24, 27, 63] be, and the same hereby

are, GRANTED on the grounds of the statute of limitations, and also either sovereign immunity,

judicial immunity or prosecutorial immunity, and are otherwise DENIED; and it is further

       ORDERED that the Second Amended Complaint [Doc. No. 5] be, and the same hereby

is, DISMISSED; and it is further

        ORDERED that Plaintiff's Motion for Partial Summary Judgment [Doc. No. 62] and

Subsequent Motion for Pa1tial Summary Judgment [Doc. No. 76] be, and the same hereby are,

DENIED.

       The Clerk is directed to forward copies of this Order to all counsel of record and to the

prose Plaintiff Joseph R. Perry, Jr., and to enter judgment in favor of Defendants pursuant to

Fed. R. Civ. P. 58.

        This is a final order for purposes of appeal. To appeal, Plaintiff must file a written

Notice of Appeal with the Clerk of the Court within thirty (30) days of the date of this Order. A

Notice of Appeal is a short statement stating a desire to appeal an order and identifying the date

of the order Plaintiff wishes to appeal. Failure to file a timely Notice of Appeal waives

Plaintiff's right to appeal this decision.




Alexandria, Virginia
November 9, 2017




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